         Case 2:08-cr-00294-WBS Document 171 Filed 10/21/14 Page 1 of 3



              UNITED STATES DISTRICT COURT
                              Eastern District of California
     Petition to Modify the Conditions or Term of Supervision
                   with Consent of the Offender
                        (Probation Form 49, Waiver of Hearing, is on file)

Name of Offender:      Melissa Villegas                     Docket Number:    0972 2:08CR00294-04

Name of Judicial Officer:     United States District Judge William B. Shubb

Date of Original Sentence:    12/02/2011

Original Offense: 18 USC 1349 – Conspiracy to Commit Mail Fraud and Bank Fraud (Class C Felony)

Original Sentence: 15 months custody Bureau of Prisons; 36 months Supervised Release; $240,000
Restitution; $100 Special Assessment

Special Conditions:

Warrantless Search
Not Dissipate Assets
Financial Disclosure
Financial Restrictions
Mental Health Treatment
Aftercare Co-payment

Type of Supervision:      Supervised Release

Date Supervision Commenced:        3/8/2013

Other Court Actions: None




                                   PETITIONING THE COURT

To modify the conditions of supervision as follows:

   7. The defendant shall abstain from the use of alcoholic beverages and shall not frequent
      those places where alcohol is the chief item of sale.




                                           Page 1 of 3                                      PROB 12B
                                                                                              (08/13)
        Case
RE: Melissa     2:08-cr-00294-WBS Document 171
            Villegas                            Filed
                                             Docket   10/21/14
                                                    Number: 0972Page 2 of 3
                                                                2:08CR00294



    8. The defendant shall complete 40 hours of unpaid community service as directed by the
       probation officer. The defendant shall pay fees attendant to participation and placement
       in this program on a sliding scale as determined by the program.

Justification: On August 21, 2014, a vehicle stop was affected and the driver was determined to be
operating the vehicle while under the influence of alcohol. The defendant was identified as the passenger
and was also displaying objective signs of being under the influence of alcohol. Her speech was slurred,
her eyes were red and watery, and she was belligerent and yelling. Due to her intoxicated level, as well as
for her own safety, she was placed under arrest for public intoxication. She was transported to the local
jail where she was held for several hours. She was neither charged nor cited.

The defendant violated her conditions of supervision by consuming alcohol in excess and committing a
new law violation. It is felt revocation is not warranted at this time but some type of sanction should be
imposed to impress upon the defendant the seriousness of her actions and deter further violation conduct.

Therefore, it is recommended that the defendant abstain from further alcohol use and complete 40 hours
of unpaid community service. The defendant is in agreement with the modification request and a signed
waiver in on file.



                                                      Respectfully submitted,

                                                      /s/ Kris M. Miura

                                                      Kris M. Miura
                                                      United States Probation Officer
                                                      Telephone: 916-683-3323
DATED:        10/16/2014
                                                      Reviewed by,

                                                      /s/ Jack C. Roberson

                                                      Jack C. Roberson
                                                      Supervising United States Probation Officer




                                           Page 2 of 3                                               PROB 12B
                                                                                                       (04/13)
        Case
RE: Melissa     2:08-cr-00294-WBS Document 171
            Villegas                            Filed
                                             Docket   10/21/14
                                                    Number: 0972Page 3 of 3
                                                                2:08CR00294



THE COURT ORDERS:

☒ Modification approved as recommended.

Dated: October 21, 2014




CC:

United States Probation

Assistant United States Attorney: Russell L. Carlberg

Defense Counsel: Bruce Locke




                                               Page 3 of 3                    PROB 12B
                                                                                (04/13)
